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                         EXHIBIT B

         Redline of Revised Participating Parties List
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                 In re Boy Scouts of America and Delaware BSA, LLC
                           Revised Participating Parties List


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1
    Contact information for the pro se individuals has been provided to the Participating Parties.


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